Case 1:05-cv-01123-.]DT-STA Document 3 Filed 05/31/05 Page 1 of 2 Page|D 1

 

FIL.ED By
IN THE UNlTEI) STATES DISTRlcT COURT D~C-
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 HAY 31 AH 9, .
EASTERN DIVISION ' 05
F,_~M HT R ni_r
wages
WILLIAM MABRY, ' - @F TN JACKSON
Plaintif‘f,
v. Civil Action NO. 1-05-1 123-T An

UNUM LIFE INSURANCE COMPANY
OF AMERICA,

Defendant.

 

ORDER EXTENDING TIME WITHIN WHICH TO FILE A RESPONSIVE PLEADING

 

Defendant Unum Life Insu_rance Company of America has requested an additional thirty
(30) days, or until June 24, 2005, Within Which to tile a responsive pleading in this matter. For
good cause shown, the Motion is hereby granted. Defendant shall have until June 24, 2005

within Which to tile a responsive pleading

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UNITED STATES BI'S‘HH€:P COURT JUDGE

This document entered on the docket sheet in complies-m

with Hu|e 58 andfor 79 (a) FRCP Oi'l _.§£__….DS

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CV-01123 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listedl

 

 

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Honorable J ames Todd
US DISTRICT COURT

